                             Case 3:16-cv-00139-SRU Document 31 Filed 04/18/16 Page 1 of 1
                                                                                                                             Civil- (Dec-2008)
                                                            HONORABLE: Stefan R. Underhill
                                    DEPUTY CLERK R. Jaiman / M. Landman RPTR/ECRO/TAPE Sharon Masse
       TOTAL TIME: 0                 hours 14 minutes
                                       DATE: 4/18/2016   START TIME: 2:36 p.m.        END TIME: 2:50 p.m.
                                                           LUNCH RECESS                   FROM:                        TO:
                                                   RECESS (if more than ½ hr)             FROM:                        TO:

       CIVIL NO. 3:16-cv-139 (SRU)


                     Deborah Bishop-Bristol                                                  Robert A. Izard, Jr.
                                                                                                     Plaintiff’s Counsel
                                       vs
                     Massachusetts Mutual Life Ins. Co.                                      Jill M. O'Toole and Mark B. Blocker
                                                                                                     Defendant’s Counsel

                                                  COURTROOM MINUTES- CIVIL

                           ✔ Motion hearing                               Show Cause Hearing
                                Evidentiary Hearing                       Judgment Debtor Exam
                                Miscellaneous Hearing

        ✔ .....# 15        Motion to transfer venue (doc. # 15)                              ✔ granted        denied         advisement
            .....#         Motion                                                               granted        denied        advisement
            .....#         Motion                                                               granted        denied        advisement
            .....#         Motion                                                               granted        denied        advisement
            .....#         Motion                                                               granted       denied         advisement
           .....#          Motion                                                               granted       denied         advisement
           .....#          Motion                                                               granted       denied         advisement
           .....           Oral Motion                                                          granted       denied         advisement
           .....           Oral Motion                                                          granted        denied        advisement
           .....           Oral Motion                                                          granted       denied         advisement
          .....            Oral Motion                                                          granted       denied         advisement
           .....               Briefs(s) due                    Proposed Findings due                     Response due
          .............                                                                                            filed     docketed
          .............                                                                                             filed    docketed
          .............                                                                                             filed    docketed
          .............                                                                                             filed     docketed
           .............                                                                                            filed    docketed
           .............                                                                                            filed    docketed
           ............                            Hearing continued until                                    at

Notes: For reasons stated on the record, defendant's motion to transfer venue (doc. # 15) is granted. The action is transferred to the
       District of Massachusetts. Pending deadlines are terminated and will be reset by the court of transfer.
